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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

KHODJAEV SARDOR,

Petitioner,
V. Civil Action No. 3:20CV890

WILLIAM BARR, ef al.,

Respondent.

MEMORANDUM OPINION

By Memorandum Order entered on December 4, 2020, the Court conditionally docketed
Petitioner’s action. At that time, the Court warned Petitioner that he must keep the Court informed
as to his current address. By Memorandum Order entered on December 30, 2020, the Court
directed service of the § 2241 petition on the United States. On January 7, 2021, the United States
Postal Service returned the December 30, 2020 Memorandum Order to the Court marked,
“RETURN TO SENDER” and “UNABLE TO FORWARD.” Since that date, Petitioner has not
contacted the Court to provide a current address. Petitioner’s failure to contact the Court and
provide a current address indicates his lack of interest in prosecuting this action. See Fed. R. Civ.
P. 41(b). Accordingly, the action will be DISMISSED WITHOUT PREJUDICE.

An appropriate Order shall accompany this Memorandum Opinion.

 

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John A. Gibney, eT he .
Date: [2 January 2021 United States Distiict Judge
Richmond, Virginia

 

 

 
